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     PRODUCTS, INC.
   7
   8                           UNITED STATES DISTRICT COURT
   9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 DARREN MARTINEZ AND JOE                       Case No. 2:16-cv-08941-GW-AGR
     MOCNIK, individually and on behalf of
  12 all others similarly situated,                STIPULATION TO
                                                   VOLUNTARILY DISMISS BLU
  13                 Plaintiffs,                   PRODUCTS, INC. AND SHANGHAI
                                                   ADUPS TECHNOLOGY CO., LTD.
  14         v.                                    PURSUANT TO FEDERAL RULE
                                                   OF CIVIL PROCEDURE 41
  15 BLU PRODUCTS, INC.; SHANGHAI
     ADUPS TECHNOLOGY CO., LTD.,
  16 and ADUPS USA LLC,                            Ctrm: 9D, 9th Floor
                                                   Hon. George H. Wu
  17                 Defendants.
  18
  19         Defendant Blu Products, Inc. (“Blu Products”), a Delaware corporation, and
  20 Plaintiffs Darren Martinez and Joe Mocnik (“collectively, “Plaintiffs”), by and
  21 through their respective counsel of record, HEREBY STIPULATE and AGREE as
  22 follows:
  23         WHEREAS, on December 2, 2016, Plaintiffs filed the Complaint in the
  24 above-entitled action in the United States District Court for the Central District of
  25 California;
  26         WHEREAS, on December 12, 2016, plaintiffs purported to serve Defendant
  27 Blu Products with the Complaint and Summons at Defendant Blu Products’
  28 registered agent for service of process;
                                                                  Case No. 2:16-cv-08941-GW-AGR
            STIPULATION TO VOLUNTARILY DISMISS BLU PRODUCTS, INC. AND SHANGHAI ADUPS
                                     TECHNOLOGY CO., LTD.
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   1         WHEREAS, on January 5, 2017, counsel for Plaintiffs and Defendant Blu
   2 Products conferred and agreed that Plaintiffs would extend Blu Products time to
   3 respond to the complaint filed in this action (the “Complaint”) until February 2,
   4 2017;
   5         WHEREAS, on February 15, 2017, Plaintiffs filed a Motion for Entry of
   6 Default as Defendant Blu Products had failed to respond to the Complaint or confer
   7 with counsel to Plaintiffs;
   8         WHEREAS, on February 15, 2017, after Plaintiffs filed the Motion for Entry
   9 of Default, counsel for Blu Products contacted counsel to Plaintiffs;
  10         WHEREAS, on February 16, 2017, Plaintiffs agreed to withdraw the Motion
  11 for Entry of Judgment and contemporaneously submit and extension for Blu
  12 Products to respond to the Complaint;
  13         WHEREAS, on February 17, 2017, the clerk entered an Order of Default
  14 prior to the Parties’ finalizing the documents necessary to withdraw the Motion for
  15 Entry of Judgment and provide Blu Products an extension of time to respond to the
  16 Complaint;
  17         WHEREAS, the Plaintiffs have agreed to maintain their original agreement to
  18 permit Blu Products to answer the complaint, rather than seek default judgment;
  19         WHEREAS, Plaintiffs and Blu Products have agreed to achieve their
  20 agreement by dismissing this action as to all remaining parties, followed by
  21 Plaintiffs refiling of its Complaint;
  22         WHEREAS, Shanghai Adups Technology Ltd., Co is a company located in
  23 China, and has not been served in this action;
  24         NOW, THEREFORE, Plaintiffs and Defendant Blu Products HEREBY
  25 STIPULATE and AGREE that pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules
  26 of Civil Procedure, Defendants Blu Products and Shanghai Adups Technology Ltd.
  27 Co. are dismissed from this action without prejudice and without assessment of
  28 costs or attorneys’ fees to Plaintiffs.
                                                2                 Case No. 2:16-cv-08941-GW-AGR
            STIPULATION TO VOLUNTARILY DISMISS BLU PRODUCTS, INC. AND SHANGHAI ADUPS
                                     TECHNOLOGY CO., LTD.
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   1         IT IS SO STIPULATED.
   2 DATED: March 28, 2017                 JEFFER MANGELS BUTLER &
                                           MITCHELL LLP
   3
                                           MICHAEL J. HASSEN*
   4
   5
   6                                       By:         /s/ Michael J. Hassen
                                                             MICHAEL J. HASSEN
   7                                             Attorneys for Defendant BLU
   8                                             PRODUCTS, INC.
   9 DATED: March 28, 2017                 THE ROSEN LAW FIRM, P.A.
  10                                       LAURENCE M. ROSEN
  11
  12
                                           By:         /s/ Laurence M. Rosen
  13                                                         LAURENCE M. ROSEN
  14                                             Attorney for Plaintiffs DARREN
                                                 MARTINEZ and JOE MOCNIK
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  26   *
       Pursuant to L.R. 5-4.3.4(a)(2)(i), counsel for Blu Products, Inc., Michael J.
  27 Hassen, certifies that the undersigned counsel has concurred in this filing’s content
  28 and authorized this filing.
                                               3                 Case No. 2:16-cv-08941-GW-AGR
            STIPULATION TO VOLUNTARILY DISMISS BLU PRODUCTS, INC. AND SHANGHAI ADUPS
                                     TECHNOLOGY CO., LTD.
